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- AO91 (Rev. 11/11) Criminal Complaint FILED

ber 29, 2022
UNITED STATES DISTRICT CouRT “*Ptember 29,

CLERK, U.S. DISTRICT COURT

 

 

 

 

 

for the WESTERN DISTRICT OF TEXAS
Western District of Texas [=] BY: EP
DEPUTY
United States of America )
v. )
Jenna Leigh Roark ) Case No. EP:22-M-02384-LS
)
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of September 26, 2022 in the county of El Paso in the
Western District of Texas _ , the defendant(s) violated:
Code Section Offense Description
18 USC 2 Aiding and abetting
18 USC 1203 (a) Hostage taking

This criminal complaint is based on these facts:
See Attached

@ Continued on the attached sheet. th Ol —

Complainant's signature
Warrant sworn to telephonically on

 

 

 

 

 

. Liliana F. Olivas, FB! Special Agent
September 29, 2022 at 06:35 PM and signed - -
Printed name and title
Sectronically. F FED.R. CRIM. P. 4, ate)
Date: 09/29/2022 *
Judge's signature
City and state: El Paso, Texas _ Leon Schydlower, U.S. Magistrate Judge

 

Printed name and title
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
EL PASO DIVISION
AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Special Agent (“SA”) Liliana Olivas hereinafter “Affiant,” being duly sworn do hereby depose and

state:

1.

Affiant is a SA with the Federal Bureau of Investigation (“FBI”) assigned to the El Paso Division.
Affiant has been employed with the FBI as an SA since May of 2019 and is currently assigned to
a squad that investigates violent crimes and gangs. Affiant knows that the aiding and abetting of
hostage taking and demanding of money in exchange for the release of a person as well as the
hostage taking and demanding.of money in exchange for the release of a person is a violation of
Title 18, United States Code, Sections 2 and 1203(a). The statements contained in the Affidavit
are based on the Affiant’s experience, background as an SA, and information provided by other
law enforcement officers (“Investigators”).

The information contained herein is based upon Affiant’s investigation as well as the information
supplied by other Investigators. Your Affiant has not included all facts known concerning this
matter but only facts necessary to set forth probable. cause.

On September 26, 2022, the FBI was notified by St, Petersburg Police Department in Florida that
an individual , hereinafter referred to as “Victim”, a Honduran national, was separated from her
infant son, hereinafter, “Son” and was being extorted for money in exchange for the safe return of
Son. At the time this report was made, Victim was residing in Florida.

In May 2022, Victim claimed to have crossed the United States/ Mexico Border with Son. Victim
approached an unknown male and female, in an El Paso apartment complex, and asked for
directions to the nearest bus Grey Hound bus station. The unknown male and female offered her a
ride. While enroute to the bus station, the unknown female only known to Victim as “Jane,” told
Victim that Jane was going to keep Son. Victim and Jane exchanged phone numbers and Jane
advised Victim they would be in contact. Jane would periodically send Victim pictures and
videos of Son and Victim and Son would speak on the phone two to three times a week. The
phone number Victim would contact to get updates on her'son was a number with a 505 area
code ending in 8579.

Victim was told by Jane that she had to pay $8,000 in exchange for her son. The price later
changed to-$5,800.

On September 16, 2022, Jenna Leigh Roark (ROARK) was arrested by Texas Department of
Public Safety (DPS) Criminal Investigations Division for smuggling of persons. Prior to the
arrest, ROARK had stopped at a Motel 6 in El Paso, Texas, which is in the Western District of
Texas, and picked up three individuals. ROARK was later pulled over by Texas Highway Patrol
and it was determined that the three individuals that ROARK picked up were undocumented. In
the passenger seat of the vehicle ROARK was driving was ROARK’s daughter, hereinafter
referred to as “Daughter #1”. Daughter #1 was holding an infant child that ROARK claimed
belonged to her other daughter, hereinafter referred to as “Daughter #2”. ROARK said that the
child’s name was Aiden Smith and his date of birth was 05/19/2021. ROARK claimed she had .
Aiden’s birth certificate at her place of residence in Mexico.

Shortly thereafter, Daughter #2 arrived in El Paso, Texas from Albuquerque, New Mexico and
stated the child in question was Aiden Javael Smith and gave a date of birth for the child of May
19, 2020. Daughter #2 further stated that she was not the biological mother of the child but rather
that Daughter #2’s fiancé was the biological mother, Due to conflicting stories and not being able
to identify the child, Child Protective Services was called to take possession of the child and has
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been in their custody since that date. Neither CPS nor law enforcement knew that this child was
in fact Son.

On September 26, 2022, the Federal Bureau of Investigations El Paso Division learned from the
St. Petersburg Police Department that the Victim’s son was possibly both being held for ransom
and in danger somewhere in El Paso, Texas. The St. Petersburg Police Department also provided
with the phone number that Victim believed was associated with Son’s captors. Agents used
investigative techniques to locate the general area where the cellular phone using this phone
number was then operating..Agents determined that this phone was near downtown El Paso.
Database checks were conducted on this phone number and showed that the phone number had
been utilized by a Jenna L. Roark. Further checks revealed that ROARK was being investigated
by Texas DPS for alien smuggling.

Texas DPS CID Special Agent (SA) Skirmont was contacted by Affiant to gather more
information on ROARK. SA Skirmont advised Affiant that ROARK was previously arrested by
their department the previous week and a child was taken into CPS custody. As a result, a state
arrest warrant was issued for ROARK. Photos of the child that SA Skirmont had were provided to
VICTIM who confirmed that the child in the photographs was Son. Son had been in Child
Protective Services since September 16, 2022.

ROARK was taken into custody by Texas DPS and interviewed. During the interview, ROARK
stated that her husband was in trouble with the mafia in Juarez known as La Empresa. ROARK
admitted that she was previously detained by immigration for picking up people who had entered
the United States illegally. There was a group of 29 people who entered the United States
illegally she needed to pick up and had only picked up four people.

ROARK also admitted that Son was sent to her by a man in Mexico. The man in Mexico only
known as Richard kept Son and sent Victim and her other two children across the border. Son
was eventually brought to the United States by an unknown female and ROARK was supposed to
care for the child until payment by Victim was made.

ROARK stated that when ROARK would speak to Victim, ROARK would tell Victim that
Victim needed to pay $5,800. ROARK stated that Victim owed $5,800 for one child and a total of
$10,000, ROARK was instructed that she could not take anyone’s word but Richard’s that
payment for the child was made. Once payment was made the Son could be released.

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Special Agent Liliana F. Olivas

Federal Bureau of Investigation

SUBSCRIBED AND SWORN TO ME ON September 29, 2022.

Zoe

LEON SCHYDLOWER
UNITED STATES MAGISTRATE JUDGE

 
